     Case: 1:25-cv-01772 Document #: 43 Filed: 05/01/25 Page 1 of 2 PageID #:295
                U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form

             Anthony Lee (#Y48589) vs.
 Case Title: Wexford Health Sources, Inc.,  Case Number: 25-cv-01772
 Marlene Henze, Dianna Kucera, Mitchell
 McGladdery, Helen Bruckner, Eileen Couture
An additional appearance is hereby filed by the undersigned as attorney for:
Mitchell McGladdery
Attorney name (type or print): Shannon L. McKeon

Firm: Amundsen Davis, LLC

Street address: 150 North Michigan Avenue, Suite 3300

City/State/Zip: Chicago, IL 60601
 Bar ID Number: 6346125                                Telephone Number: 312-455-3842
 (See item 3 in instructions)
Email Address: smckeon@amundsendavislaw.com
Are you acting as lead counsel in this case?
                                                                                  Yes       X   No
Are you a member of the court’s general bar?
                                                                              X   Yes           No
Are you a member of the court’s trial bar?
                                                                                  Yes       X   No
Are you appearing pro hac vice?
                                                                                  Yes       X   No
If this case reaches trial, will you act as the trial attorney?                   Yes       X      No

If this is a criminal case, check your status.

                                                                  Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on May 1, 2025

Attorney signature:        S/ Shannon L. McKeon
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                        Revised 07/19/2023
    Case: 1:25-cv-01772 Document #: 43 Filed: 05/01/25 Page 2 of 2 PageID #:296




3078567-JKS/SLM
#6346125
                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANTHONY LEE,                                       )
                                                   )
                             Plaintiff,            )
                                                   )
              v.                                   )      No. 1:25-cv-01772
                                                   )
WEXFORD HEALTH SOURCES, INC.,                      )
MARLENE HENZE, DIANNA KUCERA,                      )
MITCHELL MCGLADDERY,                               )
HELEN BRUCKNER,                                    )
EILEEN COUTURE,                                    )
                                                   )
                             Defendants.           )


                               CERTIFICATE OF SERVICE

       I hereby certify that on May 1, 2025, a true and complete copy of the foregoing document
was served electronically upon all counsel of record via email generated by the Court’s ECF
system.




                                           AMUNDSEN DAVIS, LLC

                                           By:/s/  Shannon L. McKeon
                                                One of the Attorneys for Defendant
                                                Mitchell McGladdery


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